Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 1 of 18 PageID# 2


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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   (Alexandria Division)
                                                                         VI    •""   I L




AMERICAN REGISTRY FOR INTERNET                                         111.
                                                                        kli.
NUMBERS, LTD.
3635 Concorde Parkway, Suite 200
Chantilly, Virginia 20151

                            Plaintiff,

                vs.                               Civil Action No.   WOIcaI

NAME INTELLIGENCE, INC.,
12806 22nd SE PL                                  COMPLAINT
Bellevue, Washington 98005

                                                  DEMAND FOR JURY TRIAL
JAY WESTERDAL, and
12806 22dSE PL
Bellevue, Washington 98005


DOMAIN HOSTMASTER
12806 22dSE PL
Bellevue, Washington 98005

                              Defendants.




       Plaintiff American Registry For Internet Numbers Ltd. ("Plaintiff'), by and through its


undersigned counsel and for its Complaint against Defendants Name Intelligence, Inc., Jay


Westerdal, and Domain Hostmaster (collectively, "Defendants"), alleges as follows:

                                         THE PARTIES


       1.      Plaintiff ARIN is a non-profit corporation organized and existing under the laws


of Virginia, with its primary place of business at 3635 Concorde Parkway, Suite 200, Chantilly,


Virginia 20151. Plaintiff allocates Internet Protocol resources and performs other services


related to the operation and advancement of the Internet.




                                               -1 -
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 2 of 18 PageID# 3




       2.     On information and belief, Defendant Name Intelligence, Inc. is a corporation


organized and existing under the laws of the State of Washington with a place of business at


12806 22nd SE PL, Bellevue, Washington 98005. On information and belief, Name Intelligence

controls the registration of the domain name ARIN.COM.


       3.     On information and belief, Defendant Jay Westerdal is a citizen of the State of


Washington, with an address of 12806 22d SE PL, Bellevue, Washington 98005. Defendant


Westerdal was the registrant of ARIN.COM up until he changed the record to conceal his


identity and to reflect "Domain Hostmaster" as the registrant. Upon information and belief,


Defendant Westerdal is the "Domain Hostmaster." Defendant Westerdal is also the President


and Chief Executive Officer of Name Intelligence. Defendant Westerdal directs, controls,


supervises and participates in the unlawful conduct that forms the basis for this Complaint,


       4.      Defendant "Domain Hostmaster" is listed as the registrant of the domain name


APJN.COM. Domain Hostmaster's address is listed as 12806 22nd SE PL, Bellevue,


Washington 98005.


                                 NATURE OF THE ACTION


       5.      This is an action for trademark infringement and trademark counterfeiting under


the Lanham Act (15 U.S.C. § 1114), trademark dilution under the Lanham Act (15 U.S.C. §


1125(c)); trademark infringement, unfair competition, false designation of origin and passing off

under the Lanham Act (15 U.S.C. § 1125(a)), cybersquatting under the Lanham Act (15 U.S.C.

§ 1125(d)) and trademark infringement, false advertising, unfair competition and unfair business


practices in violation of the statutes and common laws of the Commonwealth of Virginia, all


arising out of Defendants' willful misappropriation and unauthorized use of Plaintiff s federally




                                               -2-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 3 of 18 PageID# 4




registered trademark ARIN and Defendants' trafficking in, registration and use of the domain


name ARIN.COM.


                                  JURISDICTION AND VENUE


            6.   Jurisdiction is conferred on this Court by 15 U.S.C. § 1121 (action arising under


the Lanham Act); 28 U.S.C. § 1331 (federal question); 28 U.S.C. § 1338(a) (any action of


Congress relating to trademarks); 28 U.S.C. § 1338(b) (action asserting a claim of unfair


competition joined with a substantial and related claim under the trademark laws); and 28 U.S.C.


§ 1367 (supplemental jurisdiction).

            7.   Defendants are subject to personal jurisdiction in this Court pursuant to Va. Code

Ann. §8.01-328.1(A)(1) & (4), because Defendants have (1) transacted business in this


jurisdiction and (2) caused tortious injury in the Commonwealth of Virginia by acts outside the

Commonwealth of Virginia, and regularly do and solicit business and engage any other persistent

courses of conduct in the Commonwealth of Virginia. Venue is proper in this district under 28

U.S.C. § 1391.


            8.   This Court has personal jurisdiction over Defendants and venue is proper in this

district because, inter alia, on information and belief: (a) Each Defendant conducts business in

this district; (b) Defendants' acts giving rise to the claims set forth herein occurred in this

district; (c) Defendants' acts giving rise to the claims set forth herein caused tortious injury in


this district; and (d) witnesses and records, including third-party witnesses, are located in this

district.




                                                 -3-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 4 of 18 PageID# 5




                        FACTS ENTITLING PLAINTIFF TO RELIEF


                           Plaintiff And Its Vital Role In The Internet


       9.       The Internet Corporation for Assigned Names and Numbers ("ICANN") is the


global supervisor of the allocation of domain names and Internet Protocol ("IP") numbers.


ICANN operates under the auspices of the Department of Commerce. ICANN is responsible for


the management of the Internet Domain Name System ("DNS"). In this governing capacity,


ICANN recognized Plaintiff as the sole Regional Internet Registry ("RIR") for the North


American region. As such, Plaintiff has taken over a function previously performed by the U.S.


government and ICANN. Plaintiff is one of only five RIRs globally recognized.


        10.     Every device that is linked to the Internet needs an IP number. This number


serves as the device's Internet "address" so that Internet communications can be routed to and


from the device. For example, the IP number 72.21.210.11 is the Internet address for the website


ofAmazon.com. The domain name, Amazon.com, is simply the more memorable way to locate


that website.


        11.     Plaintiff oversees the allocation and registration of all IP numbers in its region.


Plaintiff also maintains a database of the allocation of all IP numbers in its region. Since 1997,


Plaintiff has served in this capacity. Plaintiff also develops policies based upon consensus of the

global Internet-governing community and facilitates the advancement of the Internet through

information and education and offers related services under its mark ARIN.


        12.     ARIN's services are advertised, offered and sold on the web site located at


ARIN.NET.


        13.     ARIN only allocates IP numbers to entities that meet certain requirements. IP


numbers are allocated pursuant to a contract between ARIN and the recipient.




                                                 -4-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 5 of 18 PageID# 6




        14.     ICANN authorizes certain other entities, called Registrars, to grant registrations to

domain names in certain top level domains ("TLDs") (e.g., .com, .net, .org, etc.).

        15.     On April 16,2001, ICANN, issued a list of "reserved" domain names (including

"ARIN") that a registrar may not register in conjunction with any TLD without ICANN's

express written authorization. Thus, as of April 16,2001, a registrar was not supposed to allow

the registration of "ARIN" in any TLD without ICANN's express written authorization.

        16.     Plaintiff owns two U.S. registrations for its service mark ARIN, including U.S.

Registration No. 3,047,439 and U.S. Registration No. 3,043,320 both for "managing Internet

numbering resources, namely, managing Internet Protocol number ranges for which Internet


service providers and end users use to configure and maintain their networks; database

maintenance; and maintaining a routing registry where network operations can submit, maintain,

and retrieve router configuration information." Both registrations are valid.

        17.     Plaintiff also owns extensive common law rights in its mark ARIN through its

many years of continuous and prominent use of the mark in connection with services related to


the Internet.


        18.     Long before the unlawful conduct by Defendants alleged below, Plaintiffs mark


ARIN had become well known to members of the Internet community and to the general public

and had become famous because of its critical and prominent role in the management of the


Internet.


                                 Defendants' Infringing Activities


        19.     On information and belief, Defendant Name Intelligence is an ICANN-accredited


registrar.




                                                 -5-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 6 of 18 PageID# 7




       20.     On information and belief, Defendant Name Intelligence has a contract with a


Virginia company, Verisign, Inc., to provide registrar services.

       21.     Defendant Name Intelligence is a member of Plaintiff and receives IP resources

from Plaintiff pursuant to a service contract with Plaintiff.

       22.     On information and belief, Defendants Westerdal, through his company


Defendant Name Intelligence or through other unknown persons, purchased, renewed, trafficked

in, registered or otherwise obtained a registration for the domain name ARIN.COM despite

IC ANN's clear intention that third parties may not reserve domain names consisting of "ARIN."

        23.    Neither Plaintiff nor ICANN authorized Defendants to obtain the domain name


registration for ARIN.COM. Defendant Westerdal obtained this domain name registration on or


about October 29,2004.


        24.    Defendants were aware of Plaintiff and Plaintiff s ownership of the ARIN mark


prior to registering the domain name ARIN.COM and using the mark ARIN for their internet-


related services.

        25.     Defendants trafficked in, registered or otherwise obtained the domain name


ARIN.COM with the bad faith intent to trade off of the fame of Plaintiff s ARIN mark.

        26.     On information and belief, Defendant Westerdal is a frequent commentator on


issues related to the Internet and domain names. Defendant Westerdal also participates, and on


information and belief, helps organize (through his company Name Intelligence), forums for


members of the Internet community, such as the Domain Roundtable Conference.


        27.     On information and belief, Defendant Westerdal is the secretary of the ICANN


Registrars Constituency, a group intimately involved in Internet governance.




                                                 -6-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 7 of 18 PageID# 8




       28.     On information and belief, Defendant Westerdal changed the ARIN.COM domain

name registration record so that the record no longer listed him, individually, as the owner of the

domain. "Domain Hostmaster," with an email address of "hostmaster@ascern.com" is currently


shown as the Registrar of the domain name ARIN.COM.


       29.     On information and belief, "Domain Hostmaster" is an alias for Defendant

Westerdal. The changed record still lists Defendant Westerdal's and Defendant Name


Intelligence's address as the contact for all administrative and technical inquiries, just as it did


when Defendant Westerdal was listed individually as the registrant of the domain name


ARIN.COM.


        30.    On or about November 3,2004, Defendants renewed the registration for the


domain name ARIN.com for a 1,000 year term, expiring in September 3005.


        31.    On information and belief, on December 26, 2005, Defendants began using the


web site located at ARIN.com for the following message: "We suggest "whois" to uptain [sic]


information on IP addresses around the world." On information and belief, the word "whois"


was linked to www.whois.se, the precursor of a website currently operated by Defendants for


their Domain Tools product at www.domaintools.com.

        32.     On February 12, 2007, counsel for ARIN left a voicemail message for Defendant


Westerdal requesting the transfer of the ARIN.COM domain name to ARIN. The request was


followed up with a written request, sent via electronic mail on the same day. Defendant Name


Intelligence responded and declined to transfer the domain name ARIN.COM.

        33.     Shortly thereafter, on information and belief, Defendants' web page at


ARIN.COM commenced offering WHOIS lookup services (the "Home Page"). Defendants'

web page at ARIN.COM now offers services under the mark ARIN.




                                                 -7-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 8 of 18 PageID# 9




        34.      Defendants' web site ARIN.COM is accessible and has been accessed by


residents of Virginia. On information and belief, residents of Virginia have purchased

Defendants' services through Defendants' web site at ARIN.COM. On information and belief,

Defendants have communicated with and entered into contracts with residents in Virginia

regarding the sale of services through the domain name ARIN.COM. On information and belief,

Defendants have entered into contracts with companies located in Virginia relating to


Defendants' business under the domain name ARIN.COM.


        35.      A visitor to Defendants' ARIN.COM web site who is familiar with Plaintiffs


famous mark ARIN will be confused into believing that the services offered on Defendants' web

site are offered or sponsored by or affiliated with Plaintiff. The likelihood of confusion is

heightened by Defendants' intentional use of words that describe the services ARIN provides -

"providing IP addresses to facilitate Internet networking." Defendants are using Plaintiffs

ARIN mark on Defendants' web site at ARIN.COM to confuse visitors about the source,

sponsorship of affiliation of Defendants' services and to profit from that confusion and mistake.

        36.      Defendants' ARIN.C0M Home Page states it is "Powered by Domain Tools,"

which is a product provided by Defendant Name Intelligence. A visitor who uses the tool at

Defendants' ARIN.COM web site is redirected to the Defendants' Domain Tools website

www.domaintools.com.


        37.      Defendants' Domain Tools website represents that Defendant Name Intelligence

is the parent company of Domain Tools.


        38.      A re-directed visitor lands at a webpage that offers a service called "Reverse IP."

This tool allows the user to enter an IP number and learn all the domain names that are hosted at

that location.




                                                 -8-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 9 of 18 PageID# 10




       39.    ARIN offers a similar service on its own website at ARIN.NET.


       40.    Defendants' trafficking, registration and use of the domain name ARIN.COM,


which consists of ARIN's federally registered service mark followed by a TLD, and use of the

mark ARIN, is not authorized by ARIN.


       41.    Defendants are using ARIN's famous trademark in the domain name ARIN.COM


and on Defendants' web site in an effort to divert web users seeking ARIN's services to


Defendants' own website for commercial gain.

       42.    On information and belief, Defendants' actions are likely to cause and are causing


confusion among Internet users regarding the source, sponsorship or affiliation of Defendants'


services and leading consumers to believe - erroneously - that ARIN stands behind Defendants'

services available on the web site at ARIN.COM.


       43.    On information and belief, some web users searching for ARIN mistakenly visit


the web site at ARIN.COM because they think the domain name is controlled by ARIN and leads


to a website offered by ARIN.


       44.    On information and belief, Defendants' actions are diluting the distinctiveness of


the famous ARIN mark and are tarnishing the mark.


       45.     Defendants are exploiting the goodwill and fame of ARIN's mark in order to


maximize, and to profit from, consumer confusion as to the source, sponsorship, affiliation,

connection or endorsement of Defendants' services.




                                               -9-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 10 of 18 PageID# 11




                                           COUNT I


       Federal Trademark Infringement And Counterfeiting Under the Lanham Act


                                        15U.S.C.§1114


       46.     Plaintiff incorporates by reference the statements and allegations contained in

paragraphs 1-46 of the Complaint as though fully set forth herein.


       47.     Plaintiff owns two federally registered trademarks for ARIN, U.S. Registration


No. 3,047,439 and U.S. Registration No. 3,043,320. Those registrations are valid and subsisting.


       48.     Despite being aware of Plaintiff s rights in its famous ARIN mark, Defendants


have used Plaintiffs mark ARIN in the domain name ARIN.COM and on Defendants' web site


at ARIN.COM to offer internet-related services.


       49.     Defendants' use of the mark ARIN constitutes the knowing use of a "counterfeit


mark," because Defendants' mark ARIN is substantially identical to Plaintiffs federally


registered ARIN mark depicted in Registration No. 3,047,439 and Defendants use Plaintiffs


ARIN mark for some of the identical services identified in ARIN's federal registration No.


3,047,439.


       50.     Defendants' conduct, as described herein, is likely to cause confusion, mistake


and deception, and Defendants thereby infringe Plaintiffs registered service mark ARIN in


violation of § 32 of the Lanham Act, 15 U.S.C. § 1114. Defendants' conduct also constitutes


trademark counterfeiting in violation of § 32 of the Lanham Act, 15 U.S.C. § 1114.

       51.     Defendants' conduct, as described above, is a willful attempt to trade on the


goodwill and reputation of Plaintiff s registered service mark ARIN.


       52.     As a direct and proximate result of Defendants' wrongful conduct, Defendants


have caused Plaintiff irreparable harm and injury.




                                              -10-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 11 of 18 PageID# 12




        53.      Injury to Plaintiff is continuing and will continue unless Defendants' actions are

restrained by the Court. Unless Defendants are enjoined from engaging in their wrongful


conduct, Plaintiff will suffer further irreparable injury and harm, for which it has no adequate

remedy at law.


        54.      By reason of the foregoing, Plaintiff is entitled to a preliminary and permanent

injunction enjoining Defendants from the aforesaid violations of the Lanham Act, and to an


award of damages and an accounting of Defendants' profits, including an amount not less than


three times Defendants' profits, three times Plaintiffs damages, statutory damages in an amount


of $1,000,0000 per counterfeit mark used by Defendants, Plaintiffs reasonable costs and

attorney's fees, and such other and further relief as the Court may deem just.


                                             COUNT II


                       Federal Trademark Dilution Under the Lanham Act


                                         15 U.S.C. § 1125(c)


        55.      Plaintiff incorporates by reference the statements and allegations contained in


paragraphs 1-55 of the Complaint as though fully set forth herein.


        56.      Plaintiffs ARIN mark is famous, including among Virginians, and was famous


long before Defendants commenced the unlawful conduct described herein.

        57.      Defendants' conduct, as described herein, constitutes dilution by tarnishment and


dilution by blurring of Plaintiff s famous mark ARIN, in violation of § 43(c) of the Lanham Act,


 15 U.S.C. §1125(c).


        58.      Defendant's conduct, as described herein, is a willful attempt to dilute and tarnish


 the distinctive quality of Plaintiff s famous mark ARIN and to trade on the goodwill and

 reputation of the trademark ARIN.




                                                 -11-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 12 of 18 PageID# 13




        59.      As a direct and proximate result of Defendants' wrongful conduct, Defendants

have caused Plaintiff irreparable harm and injury.


        60.      Injury to Plaintiff is continuing and will continue unless Defendants' actions are

restrained by the Court. Unless Defendants are enjoined from engaging in their wrongful

conduct, Plaintiff will suffer further irreparable injury and harm, for which it has no adequate


remedy at law.


        61.      By reason of the foregoing, Plaintiff is entitled to a preliminary and permanent


injunction enjoining Defendants from the aforesaid violations of the Lanham Act, and to an


award of damages and an accounting of Defendants' profits, including an amount not less than


three times Defendants' profits, three times Plaintiffs damages, Plaintiffs reasonable costs and


attorney's fees, and such other and further relief as the Court may deem just.

                                             COUNT III


  Federal Trademark Infringement, Unfair Competition, False Designation of Origin And


                                Passing Off Under the Lanham Act


                                         15U.S.C.§1125(c)


        62.      Plaintiff incorporates by reference the statements and allegations contained in

paragraphs 1-62 of the Complaint as though fully set forth herein.

        63.      Defendants' conduct, as described above, constitutes trademark infringement,

unfair competition, false designation of origin, and passing off because it is likely to cause

confusion, mistake or deception, including, without limitation, among Virginians and in

 interstate commerce, as to the affiliation, connection and association between Defendants, on the

one hand, and Plaintiff and its service mark ARIN, on the other hand, all in violation of § 43(a)

of the Lanham Act, 15 U.S.C. § 1125(a).




                                                -12-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 13 of 18 PageID# 14




       64.       Defendants' conduct, as described above, constitutes trademark infringement,


unfair competition, false designation of origin and passing off because it is likely to cause


confusion, mistake or deception as to whether Defendants' services originate from or are


sponsored, endorsed or approved by Plaintiff, all in violation of § 43(a) of the Lanham Act, 15

U.S.C. § 1125(a).


       65.       As a direct and proximate result of Defendants' wrongful conduct, Defendants


have caused Plaintiff irreparable harm and injury.


       66.       Injury to Plaintiff is continuing and will continue unless Defendants' actions are

restrained by the Court. Unless Defendants are enjoined from engaging in their wrongful


conduct, Plaintiff will suffer further irreparable injury and harm, for which it has no adequate

remedy at law.


       67.       By reason of the foregoing, Plaintiff is entitled to a preliminary and permanent

injunction enjoining Defendants from the aforesaid violations of the Lanham Act, and to an

award of damages and an accounting of Defendants' profits, including an amount not less than

three times Defendants' profits, three times Plaintiffs damages, Plaintiffs reasonable costs and

attorney's fees, and such other and further relief as the Court may deem just.


                                             COUNT IV


                             Cybersquatting Under the Lanham Act


                                         15 U.S.C. § 1125(d)


       68.       ARIN incorporates by reference the statements and allegations contained in

paragraphs 1-68 of the Complaint as though fully set forth herein.


       69.       Defendants have trafficked in, registered and are using ARIN.COM, a domain

name that is identical to Plaintiffs famous ARIN mark.




                                                -13-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 14 of 18 PageID# 15




       70.       Plaintiffs ARIN mark was distinctive and famous at the time Defendants


registered or otherwise obtained control of the domain name ARIN.COM.


       71.       Defendants have a bad faith intent to profit from the ARIN mark and had such


intent at the time they registered or otherwise obtained control of the domain name ARIN.COM.


       72.       Defendants are using the domain name ARIN.COM to divert traffic from

Plaintiffs website to Defendants' own website for commercial gain by causing confusion about


the source, sponsorship or affiliation of Defendants' website.


       73.       As a direct and proximate result of Defendants' wrongful conduct, Defendants

have caused Plaintiff irreparable harm and injury.


       74.       Injury to Plaintiff is continuing and will continue unless Defendants' actions are


restrained by the Court. Unless Defendants are enjoined from engaging in their wrongful


conduct, Plaintiff will suffer further irreparable injury and harm, for which it has no adequate


remedy at law.


       75.       By reason of the foregoing, Plaintiff is entitled to a preliminary and permanent


injunction enjoining Defendants from the aforesaid violations of the Lanham Act, and to an


award of damages and an accounting of Defendants' profits, including an amount not less than

three times Defendants' profits and three times Plaintiffs damages, or statutory damages, as well

as Plaintiffs reasonable costs and attorney's fees, and such other and further relief as the Court

may deem just.


                                             COUNT V


              Trademark Infringement False Advertising, Unfair Competition
                   and Unfair Business Practices in Violation of Virginia Law


       76.       Plaintiff incorporates by reference the statements and allegations contained in

paragraphs 1-76 of the Complaint as though fully set forth herein.




                                                -14-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 15 of 18 PageID# 16




        77.      Defendants' conduct, described above, constitutes trademark infringement, false

advertising, unfair competition and unfair business practices in violation of the statutes and

common laws of the Commonwealth of Virginia, including Va. Code Ann. §§59.1-196 et seq.


and Va. Code Ann. §18.2-216.


        78.      As a direct and proximate result of Defendants' wrongful and willful conduct,

Defendants have caused Plaintiff irreparable harm and injury.

        79.      Injury to Plaintiff is continuing and will continue unless Defendants' actions are


restrained by the Court. Unless Defendants are enjoined from engaging in their wrongful

conduct, Plaintiff will suffer further irreparable injury and harm, for which it has no adequate


remedy at law.


        80.      By reason of the foregoing, Plaintiff is entitled to a preliminary and permanent


injunction enjoining Defendants from the aforesaid violations of the statutes and common law of


the Commonwealth of Virginia, and to an award of damages, any enhanced damages available as


a result the willful nature of Defendants' actions, Plaintiffs attorney's fees, and such other and

further relief as the Court may deem just.

                                      PRAYER FOR RELIEF


        WHEREFORE, Plaintiff requests that this Court grant the following relief:

        (1)      A preliminary and permanent injunction enjoining Defendants, their employees,


agents, officers, directors, attorneys, representatives, successors, affiliates, subsidiaries, heirs and


assigns, and all those in active concert or participation with any of them from the following acts,

 including using on or in connection with any business, service, or the sale, offering for sale,


 distribution, advertising, promotion, labeling or packaging, of any services or any goods, or from


using for any commercial purpose whatsoever:




                                                 -15-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 16 of 18 PageID# 17



                  (a) the name or service mark ARIN or any other name or mark which colorably


imitates or is confusingly similar to said service mark, whether alone, in combination with any


other term(s) and/or design(s), or as part of a domain name;


                  (b) any other false description or representation or any other thing calculated or

likely to cause confusion or mistake in the public mind or to deceive the public into the belief


that Defendants or their services are related or connected in any way to ARIN, ARIN's services


or goods, or the service mark ARIN; and


                  (c) any name or mark that is likely to injure the business reputation of Plaintiff or


to cause dilution of the distinctive quality of Plaintiff s service mark ARIN, whether alone, in

combination with any other term(s) and/or design(s), or as part of a domain name;


       (2)        An Order requiring Defendants to transfer to Plaintiff the domain name


ARIN.COM and any other domain names registered to or under the control of any of them that

contain "arin";


       (3)        An Order requiring Defendants to deliver up for destruction all publications,

advertisements, promotional materials, goods, letterhead, labeling, packaging and the like in the

possession or custody or under the control of any of the Defendants that infringe, dilute or

unfairly compete with the service mark ARIN;


       (4)        An Order requiring Defendants to file with the Court and serve upon ARIN,

within thirty (30) days after the entry of such order or judgment, a report in writing and under

oath setting forth in detail the manner and form in which they have complied with the injunction;

       (5)        Final judgment declaring Plaintiff to be the lawful owner of the trademark ARIN

and finding that Plaintiffs trademark ARIN is famous and has been infringed, diluted and

unfairly competed with by Defendants in violation of federal and state law;




                                                  -16-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 17 of 18 PageID# 18




         (6)    A declaration that Defendants' acts of infringement, dilution, unfair competition


and cybersquatting were knowing, willful and "exceptional" within the meaning of 15 U.S.C.


§1117;


         (7)    An Order awarding to Plaintiff actual damages and an accounting of Defendants'

profits, including any statutory enhancements, or enhancements on account of the willful nature


of Defendants' acts, or in the alternative with respect to Count IV, the maximum statutory


damages available under 15 U.S.C. § 1117(d);


         (8)    An Order awarding to Plaintiff prejudgment and postjudgment interest;


         (9)    An award of Plaintiff s costs and expenses, including, without limitation,


reasonable attorneys' fees;


         (10)   An Order for corrective advertising in a form, manner and frequency that is


acceptable to Plaintiff;

         (11)   An Order requiring that Defendants offer refunds to their customers who


purchased Defendants' services on the mistaken belief that they were dealing with Plaintiff or an


entity associated with Plaintiff; and


         (12)   All other relief, in law or in equity, to which Plaintiff may be entitled, or which

the Court deems just and proper.


         WHEREFORE,


         Pursuant to Fed. R. Civ. P. 38, Plaintiff respectfully demands a trial by jury of all issues


and claims in this action so triable.




                                                 -17-
Case 1:07-cv-00821-TSE-TCB Document 1 Filed 08/16/07 Page 18 of 18 PageID# 19




                                     Respectfully submitted,




Dated:
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                                     -18-
